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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

     Plaintiff,
                                                  Criminal No. 05-354 (JAF)
     v.

HECTOR RENE LUGO-RIOS (01),

     Defendant.



                                         O R D E R

     We       have   been   asked    by   the     First    Circuit    to   explain   the

particular reasons we denied Héctor Rene Lugo-Ríos' motion under 18

U.S.C.    §    3143(a)(1)(2000       &    Supp.    2006)    for    reconsideration    of

revocation of bail.            Docket Document No. 476; Civ. No. 06-2178.

Lugo, who had been convicted of violating 18 U.S.C. §§ 2, 371, 669,

982(a)(1), 982(a)(7), and 1956(h) on June 16, 2006, Docket Document

No. 438, moved this court on July 5, 2006, to release him from jail

pending his October 12, 2006, sentencing hearing.                      Docket Document

No. 476.       The government opposed Lugo's request on July 18, 2006.

Docket Document No. 496.            We originally denied Lugo's motion without

any explanation in a July 26, 2006, order. Docket Document No. 499.

     We begin by briefly explaining why we denied Lugo's motion for

bail reinstatement so cursorily the first time it came before us.

Lugo was one of ten defendants convicted in this case of violating 18

U.S.C. §§ 2, 271, 669, 982(a)(1), 982(a)(7), and 1956(h) on June 16,

2006, Docket Document No. 438, and of these ten defendants, Lugo is
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the fourth to move for bail reinstatement under § 1343(a).              Docket

Document Nos. 441, 445, 455.       By the time we entered a decision on

Lugo's motion on July 26, 2006, Docket Document No. 499, we had

already denied the first three of these § 1343(a) motions one week

earlier, on July 19, 2006, in a detailed nine-page order.               Docket

Document No. 498.    Upon reading Lugo's motion for bail reinstatement

under § 1343(a), we found him ineligible for all the same reasons we

had found three of his co-defendants ineligible.            We dismissed his

petition so brusquely, then, not because the occasion did not merit

any explanation, but because we simply assumed that our July 19,

2006, already provided a clear one.       Docket Document No. 499.

     Lugo appealed on August 3, 2006, Docket Document No. 507, and

upon reviewing his petition, the First Circuit observed that our

July 26, 2006, order improperly failed to state reasons why Lugo was

not eligible for bail reinstatement under § 3143(a), and remanded so

that we may do just that.        CCA No. 06-2178 (citing Fed. R. App.

P. 9(a)(1), which requires that a district court "state in writing,

or orally on the record, the reasons for an order regarding the

release or detention of a defendant"). The First Circuit has remanded

this case so that we can detail the reasons why we find Lugo

ineligible for bail reinstatement under § 3143(a).            Id.   We proceed

to that task now.

     A convicted defendant has no constitutional right to bail and,

in fact, the Bail Reform Act of 1984 establishes a presumption in
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favor of detaining convicted defendants pending sentencing.                 United

States v. Cátala Fonfrías, 612 F. Supp. 999, 1000 (D.P.R. 1985).                 A

provision introduced by that very same act, however, provides an

exception to that general rule, whereby a convicted defendant can

overcome the detention presumption and pursue release pending his or

her sentencing. Id. That statutory provision, codified at 18 U.S.C.

§ 1343(a)(1), states that a person who has been found guilty of an

offense and who is awaiting imposition of sentence shall be detained,

"unless the court finds by clear and convincing evidence that the

person is not likely to flee or pose a danger to the safety of any

other person or the community if released on bond pursuant to. . .

§ 1343( c)."   Convicted defendants seeking their release from prison

pending sentencing bear the burden of proof.               Cátala Fonfrías, 612

F.Supp. at 1000.

     Lugo argues that he does not pose any danger to the community by

pointing to the fact that he is sixty-five years old and has several

medical   problems.       Docket   Document   No.   476.      Lugo's      allegedly

weakened physical state does not, however, address our worries about

the danger he poses to the community.         While we agree that Lugo does

not pose any physical danger to members of the community, we must

also weigh whether Lugo poses a pecuniary threat to the community and

to the Union.      United States v. Masters, 730 F. Supp. 686, 689

(W.D.N.C.   1990)(finding      the   defendant,     who     had   continued      to

participate in legally questionable investment schemes throughout
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trial, to be a pecuniary danger to the community because the court

believed that defendant was "an unrepentant con artist who will

continue to prey on any person gullible enough to listen to his sales

talk"); United States v. Moss, 522 F.Supp. 1033, 1035 (E.D.Pa. 1981).

In   this   regard   we   fear   that   Lugo,   who   has   been   convicted    of

embezzlement, money laundering, and more, continues to pose a threat,

and he presents no evidence to assuage our concern, let alone clear

and convincing evidence as is the standard under § 1343(a).               Docket

Document No. 438.         Chief among our worries is that Lugo, who has

worked as President of the Union he embezzled money from for thirty-

five years, Docket Document No. 476, has established continuing

relationships with organization insiders who remain in managerial and

trust positions.     What is more, the undersigned recently learned in

courtroom testimony relating to this case1 that Lugo himself continues

to serve as an adviser offering advice to the Union despite his

recent embezzlement conviction.         After having suffered so many years

of criminal exploitation by Lugo already, the Union's members deserve

protection from the very real threat that Lugo, if released, may

abuse his influence at the Union to once again misappropriate assets

held in trust for their benefit.


      1
      The testimony arose during the trial of Andrés Carrasquillo-
Colón.    Carrasquillo, who was indicted along with Lugo, Docket
Document No. 2, had his prosecution severed from the rest of the co-
defendants in this case when he fell ill with pneumonia earlier this
year. Docket Document Nos. 370, 396. The undersigned is currently
presiding over Carrasquillo’s rescheduled trial.
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     United States v. Provenzano, a case from the Third Circuit,

inspires us to exercise this caution with regard to Lugo's release.

605 F.2d 85 (3rd Cir. 1979).              In Provenzano, which involved a

defendant convicted of abusing his influence in a labor union for his

own pecuniary gain, the district court denied bail pending sentencing

after noting that the defendant's brothers and daughter still held

executive union posts.      The brothers' and daughter's positions, the

district   court   held,   evidenced      that   the    defendant     had   enough

influence and opportunity at the union to once again pose a pecuniary

risk to the community were he released.                Id.   The Third Circuit

affirmed the district court's ruling. Id.

     Just as the Provenzano court worried that the defendant in that

case, if released, would take advantage of his family's continuing

control of the union to commit further abuses, so too do we fear that

Lugo, if released, would take improper, perhaps criminal, advantage

of his existing union connections.

     Finally, with respect to flight risk, Lugo submits that his

compliance with bail terms all throughout trial evidences that he

will continue to comply with bail terms, and not flee, as he awaits

sentencing. Docket Document No. 476. We are not convinced, however,

that a defendant's compliance with bail terms during trial, when he

remains hopeful for an acquittal, is a solid predictor of what he or

she will do if let out on bail post-conviction, when incarceration is

assured.   Compare United States v. Lavandier, 14 F. Supp. 2d 169, 174
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(D.P.R. 1998)(doubting that trial-stage compliance with bail terms

means that post-conviction bail-term compliance is likely), with

Harris v. United States, 404 U.S. 1232, 1236 (1971)(J. Douglas, in

chambers)(granting defendant's application for bail pending appeal

when, inter alia, he had never failed to make a required court

appearance while previously out on bail).               Our concern about Lugo’s

flight risk is further aggravated by the fact that his embezzlement

of health care funds is a crime whose substantial proceeds improves

his financial capacity to forfeit bond and/or create a new life

outside of the United States.          United States v. Londono-Villa, 898

F. 2d 328, 329-30 (2nd Cir. 1990)(reversing district court’s finding

that defendant did not pose a flight risk when the sum of money

involved in his crime dwarfed the $1 million bond); See also Docket

Document No. 496 (government noting that Lugo was wealthy and liquid

enough to quickly produce $600,000 all at once to pay back taxes in

September 2004).

     The     day   the   jury   verdict    was   read    against    Lugo    and   his

co-defendants, and their bail revoked, the undersigned observed in

open court that the detention of a criminal defendant immediately

after his conviction foments the deterrent effect of the criminal law

by publicly highlighting the consequences to criminal behavior. Lugo

now references the undersigned's comments, which are unquestionably

true,   as   evidence    that   his   bail   was   revoked    unjustifiably       and

vindictively.      This argument is an irrelevant red herring, for as we
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have just discussed, the necessary inquiry in this case has only to

do with whether Lugo has shown this court by clear and convincing

evidence that he is “not likely to flee or pose a danger to the

safety of any other person or the community." 18 U.S.C. § 3143(a)(1).

This he has not done, and so we, therefore, cannot reinstate bail

pending sentencing as he would like.

     In accordance with the foregoing, we find that Lugo has not

presented clear and convincing evidence showing that he would not

pose a pecuniary danger to the community or the community served if

he were released on bail pending sentencing, and that he is not a

flight risk; therefore, we DENY his motion to reinstate bail.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, this 8th day of September, 2006.

                                         S/José Antonio Fusté
                                          JOSE ANTONIO FUSTE
                                         U. S. District Judge
